

Matter of Dashaun L.A. (Lynnise M.) (2018 NY Slip Op 02080)





Matter of Dashaun L.A. (Lynnise M.)


2018 NY Slip Op 02080


Decided on March 23, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 23, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, LINDLEY, DEJOSEPH, AND WINSLOW, JJ.


351 CAF 16-01838

[*1]IN THE MATTER OF DASHAUN L.A. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; LYNNISE M., RESPONDENT-APPELLANT, AND ANTHONY A., RESPONDENT. (APPEAL NO. 3.) 






DENIS A. KITCHEN, JR., WILLIAMSVILLE, FOR RESPONDENT-APPELLANT.
NATALIE M. STUTZ, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (CHARLES D. HALVORSEN OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered September 8, 2016 in a proceeding pursuant to Family Court Act article 10. The order, among other things, adjudged that the subject child was an abused child and placed respondent-appellant under the supervision of petitioner. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Aliyah M. ([appeal No. 1] — AD3d — [Mar. 23, 2018] [4th Dept 2018]).
Entered: March 23, 2018
Mark W. Bennett
Clerk of the Court








